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                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                 CLEVELAND DIVISION

 In Re:                                             Case No. 16-14691-aih

 David Candelaria, Jr.                              Chapter 13

 Debtor.                                            Judge Arthur I. Harris

                                  CERTIFICATE OF SERVICE

I certify that on March 27, 2020, a true and correct copy of this Notice of Postpetition Fees,
Expenses, and Charges was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:


          Jonathan I. Krainess, Debtor’s Counsel
          jkrainess@sbcglobal.net

          Lauren A. Helbling, Trustee
          Ch13trustee@ch13cleve.com

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov

And by regular U.S. Mail, postage pre-paid on:

          David Candelaria, Jr., Debtor
          3165 West 11th Street
          Cleveland, OH 44109
                                                    Respectfully Submitted,

                                                    /s/ Molly Slutsky Simons
                                                    Molly Slutsky Simons (0083702)
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